                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

IN RE:                     )                    3:09-CV-006 3:09-CV-555 3:09-CV-584
                           )                    3:09-CV-009 3:09-CV-563 3:09-CV-589
                           )                    3:09-CV-014 3:09-CV-564 3:09-CV-590
TENNESSEE VALLEY AUTHORITY )                    3:09-CV-048 3:09-CV-565 3:09-CV-591
ASH SPILL LITIGATION       )                    3:09-CV-054 3:09-CV-566 3:09-CV-592
                           )                    3:09-CV-064 3:09-CV-568 3:09-CV-593
                           )                    3:09-CV-114 3:09-CV-569 3:09-CV-594
                           )                    3:09-CV-491 3:09-CV-570 3:09-CV-595
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                           )                    3:09-CV-551 3:09-CV-581 3:10-CV-190
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                           )                    3:09-CV-554 3:09-CV-583
                           )                              (VARLAN/GUYTON)


                       MEMORANDUM OPINION AND ORDER

       This litigation consists of the more than fifty above-captioned cases filed against

defendant Tennessee Valley Authority (“TVA”) following the December 22, 2008 failure of

a coal ash containment dike at TVA’s Kingston Fossil plant in Roane County, Tennessee (the

“KIF plant”). Before the Court are TVA’s Motions for Summary Judgment on Plaintiffs’

Tort and Inverse Condemnation Claims on Grounds of No Causation (the “No Causation

Motions”) [Doc. 221].1



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        Unless otherwise specified, all docket entry notations are numbered according to the docket
entry sheet in Chesney, et al. v. TVA, et al., Case No. 3:09-CV-09.


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       In the No Causation Motions [Doc. 221], TVA has moved for summary judgment on

plaintiffs’ tort and inverse condemnation claims on grounds of no causation. In opposition,

plaintiffs have submitted five separate response briefs: the Chesney brief [Chesney, et al. v.

TVA, Case No. 3:09-CV-09, Doc. 266]; the Turner brief [Turner, et al. v. TVA, Case No.

3:09-CV-495, Doc. 62]; the Armes brief [Armes, et al. v. TVA, Case No. 3:09-CV-491, Doc.

49]; the Mays brief [Mays v. TVA, Case No. 3:09-CV-06, Doc. 113]; and the Daugherty brief

[Daugherty, et al. v. TVA, Case No. 3:10-CV-189, Doc. 34].2 In the Turner, Armes, Mays,

and Daugherty briefs, plaintiffs also state their intent to adopt and incorporate the response

briefs filed by the other plaintiffs. TVA has filed a consolidated reply brief to plaintiffs’

response briefs [Doc. 289]. TVA has also filed reply briefs addressing unique issues and

arguments in several of the individual cases [Turner, Doc. 66; Armes, Doc. 50; Mays, Doc.

117; Daugherty, Doc. 35]. TVA also filed a supplemental brief [Doc. 338], to which

plaintiffs filed responses [Doc. 340; Turner, Doc. 82; Armes, Doc. 57].

        For the reasons set forth herein, TVA’s No Causation Motions will be GRANTED

in part and DENIED in part.




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        Plaintiffs in Rivers filed a notice indicating their intent to adopt the Mays brief [see Rivers,
Doc. 40] and plaintiffs in Sandlin and Powers filed notices indicating their intent to adopt the
response briefs of the other plaintiffs in this litigation [see Sandlin, Doc. 40].

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I.      Relevant Factual and Procedural Background3

        Following the dike failure and coal ash spill at the KIF plant on December 22, 2008,

plaintiffs filed the above-captioned cases against TVA.4 In the complaints, plaintiffs allege

that they reside, own property, and/or own businesses within the vicinity of the ash spill.

While not identical, the complaints assert similar allegations and tort law causes of

action—e.g., negligence, negligence per se, gross negligence, trespass, nuisance, and strict

liability. Several plaintiffs request that TVA be ordered to fund medical monitoring and

several plaintiffs allege claims for inverse condemnation.                Plaintiffs are seeking

compensatory damages and/or injunctive relief. Four of the above-captioned cases are set

for trial in September 2011.5 The remainder of the above-captioned cases are set for trial in

November 2011.

        In April 2009, TVA filed motions to dismiss or for summary judgment on grounds

that the federal discretionary function doctrine applies to TVA and requires dismissal or

summary judgment in TVA’s favor on all plaintiffs’ tort claims (“the Discretionary Function


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        For background on the KIF plant and the December 22, 2008 dike failure and coal ash spill,
please see Mays v. TVA, 699 F. Supp. 2d 991 (E.D. Tenn. 2010).
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        Plaintiffs in Chesney also alleged claims against WorleyParsons Corporation and Geosyntec
Consultants, Inc., professional engineering contractors who provided engineering consultant services
and/or advice to TVA at various times from 2004 through 2007. These defendants filed a separate
motion to dismiss or motion for summary judgment [Doc. 203], which the Court granted on March
22, 2011, thereby dismissing these defendants from this litigation [Doc. 318].
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       At present, the cases set for trial in September 2011 are Mays v. TVA, Case No. 3:09-CV-06;
Chesney, et al. v. TVA, Case No. 3:09-CV-09; Auchard, et al. v. TVA, Case No. 3:09-CV-54;
Raymond, et al. v. TVA, Case No. 3:09-CV-48; and Scofield, et al. v. TVA, Case No. 3:09-CV-64.
The remainder of the cases are set for trial in November 2011.

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Motions”) [see Doc. 46]. On March 26, 2010, the Court ruled on these motions, finding that

the discretionary function doctrine applies to TVA and protects TVA’s conduct that was

grounded in considerations of public policy and involved the permissible exercise of policy

judgment. See Mays v. TVA, 699 F. Supp. 2d 991, 1016, 1019 (E.D. Tenn. 2010). On July

16, 2010, TVA filed motions for summary judgment on plaintiffs’ tort claims on the

nondiscretionary conduct issue (the “Nondiscretionary Conduct Motions”). On September

17, 2010, TVA filed the No Causation Motions [Doc. 221]. On March 24, 2011, the Court

denied in part and granted in part the relief sought by TVA in the Nondiscretionary Conduct

Motions [Doc. 319]. See In re TVA Ash Spill Litig., — F. Supp. 2d —, 2011 WL 1113425

(E. D. Tenn. Mar. 24, 2011).

       The Court now turns to the No Causation Motions. In these motions, TVA asserts that

plaintiffs have failed to demonstrate that actionable, nondiscretionary conduct by TVA

caused plaintiffs’ alleged injuries and damages. TVA argues that plaintiffs have failed to

demonstrate causation with respect to their personal injury and emotional distress claims,

their property-related claims of trespass and nuisance and their inverse condemnation claims.

In response, plaintiffs assert that they have demonstrated causation and that genuine issues

of material fact exist as to each claim. Plaintiffs also assert that summary judgment is

inappropriate at this time and request that the Court deny TVA’s motions pursuant to Federal

Rule of Civil Procedure 56(f) to allow plaintiffs sufficient time to conduct more discovery.




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II.      Standard of Review

         A court may grant summary judgment only when there is no genuine issue of material

fact and the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(c).

The moving party bears the burden of establishing that no genuine issues of material fact

exist. Celotex Corp. v. Catrett, 477 U.S. 317, 330 n.2 (1986); Moore v. Phillip Morris Cos.,

8 F.3d 335, 339 (6th Cir. 1993). The Court views the facts and all inferences to be drawn

therefrom in the light most favorable to the non-moving party. Matsushita Elec. Indus. Co.,

Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986); Burchett v. Kiefer, 310 F.3d 937, 942

(6th Cir. 2002). To establish a genuine issue as to the existence of a particular element, the

non-moving party must point to evidence in the record upon which a reasonable finder of fact

could find in its favor. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The

genuine issue must also be material. That is, the issue must involve facts that might affect

the outcome of the suit under the governing law. Liberty Lobby, 477 U.S. at 248.

         The Court’s function at the point of summary judgment is limited to determining

whether sufficient evidence has been presented to make the issue of fact a proper question

for the finder of fact. Id. at 250. The Court does not weigh the evidence or determine the

truth of the matter. Id. at 249. Nor does the Court search the record “to establish that it is

bereft of a genuine issue of material fact.” Street v. J.C. Bradford & Co., 886 F.2d 1472,

1479-80 (6th Cir. 1989).      Thus, “the inquiry performed is the threshold inquiry of

determining whether there is a need for a trial—whether, in other words, there are any



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genuine factual issues that properly can be resolved only by a finder of fact because they may

reasonably be resolved in favor of either party.” Liberty Lobby, 477 U.S. at 250.

III.   Analysis

       A.     Request to Deny Summary Judgment Pursuant to Rule 56(f)

       Plaintiffs have requested that the Court deny the No Causation Motions to provide

plaintiffs sufficient time to conduct more discovery to respond to TVA’s motions. Pursuant

to Rule 56(f) of the Federal Rules of Civil Procedure, plaintiffs in Chesney assert that more

time is needed for discovery and to gather additional evidence to dispute and confirm various

facts relevant to TVA’s motions and plaintiffs’ arguments [see Doc. 267]. Plaintiffs assert

that additional evidence will show that coal ash is present on plaintiffs’ properties, that the

coal ash spill caused plaintiffs to suffer a nuisance, and that toxic constituents from coal ash

are present throughout the Watts Bar Reservoir (the “Reservoir”), the surrounding

waterways, the shoreline strip, and in the air. TVA opposes plaintiffs’ requests.

       When a summary judgment motion is filed, the party opposing the motion may, by

affidavit under Rule 56(f), explain why he or she is unable to present facts essential to justify

the party’s opposition to the motion. See Fed. R. Civ. Pro. 56(f); Wallin v. Norman, 317 F.3d

558, 564 (6th Cir. 2003). “The burden is on the party seeking additional discovery to

demonstrate why such discovery is necessary.” Summers v. Leis, 368 F.3d 881, 887 (6th Cir.

2004). Bare allegations or vague assertions of the need for additional time for discovery are

not enough. United States v. Cantrell, 92 F. Supp. 2d 704, 717 (S.D. Ohio 2000) (citing

Lewis v. ACB Bus. Serv., Inc., 135 F.3d 389, 409 (6th Cir. 1998)). The U.S. Court of

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Appeals for the Sixth Circuit has found that a party must make such a request with “‘some

precision” and must state “the materials he hopes to obtain with further discovery, and

exactly how he expects those materials would help him in opposing summary judgment.’”

Summers, 368 F.3d at 887 (quoting Simmons Oil Corp. v. Tesoro Petroleum Corp., 86 F.3d

1138, 1144 (Fed. Cir. 1996)).

       The dike failure and ash spill occurred on December 22, 2008. It is now more than

two years since the spill and the filing of the first cases in this litigation. At the time TVA

filed the No Causation Motions, and throughout the briefing of these motions, neither the

clean-up from the spill nor discovery in these cases was complete, but both have been

ongoing since the filing of the first case. In addition, all discovery has been made available

to all parties. Plaintiffs have also requested and been granted a number of extensions to file

responses to motions and to extend various deadlines. Furthermore, nothing has prevented

the parties from filing supplemental briefs regarding the matters raised in TVA’s motions.

       Plaintiffs’ counsel filed an affidavit stating that more time for discovery might reveal

more information that would be pertinent to the No Causation Motions. Specifically, the

affidavit provides that plaintiffs “have sufficient evidence to soundly refute TVA’s motions

. . . [but] there may be additional evidence that could support their response.” [Doc. 267, pp.

1-2]. The Court does not find this affidavit to make a sufficient showing warranting the relief

requested in Rule 56(f). See Cacevic v. City of Hazel Park, 226 F.3d 483, 489 (6th Cir.

2000) (“Beyond the procedural requirement of filing an affidavit, Rule 56(f) has been

interpreted as requiring that a party making such a filing indicate to the district court its need

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for discovery, what material facts it hopes to uncover, and why it has not previously

discovered the information.”). Moreover, as indicated above, plaintiffs are in control of their

properties and have been since December 22, 2008. In the absence of specific facts showing

otherwise, the Court finds that plaintiffs have had adequate time to conduct investigations

for purposes of their claims.

       Accordingly, plaintiffs’ request that the No Causation Motions be denied pursuant to

Rule 56(f) is DENIED.

       B.     Plaintiffs’ Tort Claims

       The Tennessee Supreme Court requires a plaintiff to establish five elements in a tort

claim for common law negligence: (1) a duty of care owned by the defendant to the plaintiff;

(2) conduct falling below the applicable standard of care amounting to a breach of that duty;

(3) an injury or loss; (4) causation in fact; and (5) proximate, or legal cause. Staples v. CBL

& Ass., Inc., 15 S.W.3d 83, 89 (Tenn. 2000); see also Beaty Chevrolet Co. v. Norfolk S.

Railway Co., No. 3:03CV442, 2005 WL 1182444, at *3 (E.D. Tenn. May 18, 2005).

              1.     Tennessee’s Recreational Use Statute

       TVA argues that under the Tennessee recreational use statute, T.C.A. §§ 70-7-101,

et seq., TVA has no legal duty to keep the TVA-created and controlled Reservoir and

shoreline strip safe for plaintiffs’ recreational use and enjoyment. TVA argues that because

plaintiffs have no property interest in the waters of the Reservoir or the adjacent shoreline

strip, their tort claims cannot be premised on the theory that TVA owed plaintiffs a legal duty

to keep these areas safe, or perceived safe, for plaintiffs’ recreational use and enjoyment. In

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particular, TVA notes that plaintiffs’ nuisance claims are premised on the theory that ash

particles in the Reservoir and on the shoreline strip have rendered plaintiffs’ recreational use

of these areas less desirable and diminished plaintiffs’ use and enjoyment of their properties.

Plaintiffs disagree and argue that the Tennessee recreational use statute has nothing to do

with their claims beyond conferring a standard of care, or lack thereof, on TVA.

       The Tennessee recreational use statute provides that:

               The landowner, lessee, occupant, or any person in control of land or
               premises owes no duty of care to keep such land or premises safe for
               entry or use by others for such recreational activities as hunting,
               fishing, . . . camping, water sports, . . . canoeing, hiking, sightseeing, .
               . . bird watching, . . . boating, . . . [and] nature and historical studies .
               . . , nor shall such landowner be required to give any warning of
               hazardous conditions, uses of, structures, or activities on such land or
               premises to any person entering on such land or premises for such
               purposes, except as provided in § 70-7-104.

T.C.A. § 70-7-102.6 The Tennessee Supreme Court has described this statute as “provid[ing]

the State with limited immunity for injuries occurring on state-owned property during

recreational use[,]” subject to certain limitations and exceptions. Parent v. State, 991 S.W.2d

240, 242 (Tenn. 1999). Whether the state or a governmental entity is entitled to immunity

under the Tennessee recreational statute requires a two-pronged analysis: (1) whether the

activity alleged is a recreational activity as defined by the statute; and if so, (2) whether any

of the statutory exceptions or limitations to the immunity defense are applicable. Id. at 243.



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         The statute applies to “land” or “premises,” terms defined to included “real property [and]
waters . . . owned by any governmental entity, including, but not limited to, the Tennessee Valley
Authority.” T.C.A. § 70-7-101(1)(B).

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       In this litigation, plaintiffs are not bringing claims for injury or damage that occurred

during a recreational activity on or in the Reservoir or on the shoreline strip. Rather,

plaintiffs’ claims involve allegations pertaining to the impact of ash from the coal ash spill

on their persons, properties, and their use and enjoyment of those properties.7 Given these

claims, the Court agrees with plaintiffs that the recreational use statute does not operate as

a complete bar to their claims by rendering TVA immune from liability. While TVA may

be entitled to immunity under the recreational use statute in regard to a claim premised upon

an alleged injury or damage occurring during a “recreational activity” on or upon entry to

TVA’s property, plaintiffs’ claims in this litigation do not appear to involve this type of

claim. See, e.g., Mathews v. State, No. W2005-010420COA0R3-CV, 2005 WL 3479318,

at *2 (Tenn. Ct. App. Dec. 19, 2005) (finding that the Tennessee recreational use statute

applied to a plaintiff’s claim to recover for injuries she sustained when she slipped and fell

on a sidewalk irregularity as she entered a state park for a hike and hay ride and noting that

“the language used in the statute indicates that it applied the moment a visitor enters the

property for a recreational purpose, even if the visitor has not yet begun the recreational

activity[.]”).




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         Plaintiffs’ allegations include “extreme inconvenience and annoyance” involving road and
waterway closures; the closing of the Emory River and recreational advisory warnings advising the
public against swimming, jet skiing, water skiing, and tubing in the Emory and Clinch Rivers ;
bright lights; noise; heavy equipment blocking access to their homes; foul smells; decreased property
values; and views from their properties of dead fish in the Reservoir and of a layer of scum on top
of the water [Doc. 266, pp. 11-14].

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              2.     Actionable Conduct

       The Court agrees with TVA that a plaintiff must show that actionable conduct by

TVA caused the claimed damage or injury [Doc. 289, p. 18]. In this litigation, for TVA’s

conduct to be actionable, plaintiffs are required to show that the conduct was

nondiscretionary. In the Court’s order on the Discretionary Function Motions, the Court

found that TVA’s conduct that was grounded in considerations of public policy and involved

the permissible exercise of policy judgment—conduct such as TVA’s design decisions for

the KIF plant and TVA’s post-ash spill removal and remediation conduct—was protected by

the discretionary function doctrine and not actionable conduct for purposes of plaintiffs’ tort

claims. See Mays, 699 F. Supp. 2d at 1016-19, 1033. TVA’s nondiscretionary conduct, or

conduct not grounded in policy decisions, was found to lie outside the discretionary function

doctrine and is therefore potentially actionable. Id. at 1021-22.

       In the Court’s order on the Nondiscretionary Conduct Motions, the Court narrowed

the conduct for which TVA may be held liable and held that the following conduct was not

actionable because it fell within the discretionary function doctrine:

              TVA’s discretionary conduct and decisions relating to the design and
              construction of the KIF plant; TVA’s discretionary decision to keep in
              operation the KIF plant’s wet coal ash disposal system; TVA’s
              discretionary conduct and decisions relating to clean-up, removal, or
              remediation following the ash spill; TVA’s discretionary conduct and
              decisions relating to policies and procedures for coal ash operations and
              management; and TVA’s discretionary decisions and conduct regarding
              modifications, repairs, and changes to the KIF plant and the
              surrounding impoundments.



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In re TVA Ash Spill Litig., 2011 WL 1113425, at *18. The Court found that the following

conduct was potentially actionable because it involved allegations of nondiscretionary

conduct:

              [N]egligent failure to inform or train TVA personnel in the applicable
              policies and procedures for coal ash operations and management;
              negligent or inadequate performance by TVA personnel of TVA’s
              polices and procedures; negligence in the construction and
              implementation of approved design and construction plans; and
              negligent maintenance.

Id. The Court also found that the discretionary function doctrine applies to plaintiffs’ claims

for nuisance. Id.

              3.     Causation

       The Court now turns to the issue of causation, the primary focus of the No Causation

Motions. Causation is a two-part inquiry, cause in fact and proximate, and courts often

subsume the two inquiries into one. Cause in fact means that the injury or harm would not

have occurred “but for” the defendant’s negligent conduct. Kilpatrick v. Bryant, 868 S.W.2d

594, 598 (Tenn. 1993). A more complicated inquiry is involved in determining proximate

cause, an issue which Tennessee’s highest court has recognized as the “ultimate issue” in

negligence cases. McClenahan v. Cooley, 806 S.W.2d 767, 774 (Tenn. 1991) (noting that

“[o]ur opinions have recognized that proximate causation is the ‘ultimate issue’ in negligence

cases.”). To determine proximate cause, Tennessee courts follow a three-pronged test: “(1)

the tortfeasor’s conduct must have been a ‘substantial factor’ in bringing about the harm

being complained of; and (2) there is no rule or policy that should relieve the wrongdoer


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from liability because of the manner in which the negligence has resulted in the harm; and

(3) the harm giving rise to the action could have reasonably been foreseen or anticipated by

a person or ordinary intelligence and prudence.” Id. (citing cases). This test, and the analysis

of courts considering issues of proximate cause under Tennessee law, indicates that this test

is inextricably linked to the facts and circumstances of the specific case, the type of claim

alleged, and the type of harm or injury claimed. Moreover, as the cases show, “[t]he question

of proximate causation is always to be determined on the facts of each case.” Sterling v.

Velsicol Chem. Corp., 855 F.2d 1188, 1999 (6th Cir. 1988).

       TVA argues that plaintiffs have failed to show that the coal ash spill caused ash

particles to be transmitted to plaintiffs’ properties in material quantities or concentrations

“sufficient to cause property damage and/or personal injury or to constitute a taking[.]”

[Doc. 222, p. 15]. Assuming the ash or its constituents to be harmful, TVA asserts that

plaintiffs must prove that the spill caused “material quantities or concentrations of coal ash

to be transmitted to each of the Plaintiffs’ properties” [Id. (emphasis in original)], through

a potential pathway of transmission such as the initial flow of ash sludge, transmission

through water in the Reservoir, the surrounding waterways, or drinking water, or

transmission through ambient air [Id.]. TVA asserts that plaintiffs have not produced

evidence of an issue of fact as to whether plaintiffs were exposed to the metals in the ash

through a transmission pathway in a quantity or concentration sufficient to cause physical

injury or emotional distress or whether the ash reached plaintiffs’ properties for purposes of

their property-related claims of trespass and nuisance or their inverse condemnation claims

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[Id., p. 16]. TVA also asserts that plaintiffs have failed to establish an issue of fact that ash

concentrations on plaintiffs’ properties have increased above historical background levels

since the December 22, 2008 spill or were not a result of TVA’s discretionary conduct.

       Plaintiffs disagree and assert that they have produced evidence that gives rise to issues

of fact as to whether ash constituents released during the spill entered and remain in the air

and water, whether ash particles came onto and remain on their properties and in the waters

of the Reservoir and surrounding waterways, and whether the ash particles contain

potentially harmful levels of toxic constituents. Plaintiffs also assert that they have produced

evidence of a genuine issue of fact as to whether these particles invaded their properties,

caused them injury, and interfered with their use and enjoyment of their properties. Plaintiffs

argue that TVA has erroneously conflated the standards of causation for different types of

tort claims into a single, strict personal injury standard of causation. They assert that under

Tennessee law, trespass and nuisance claims do not require the same causation standard as

claims of personal injury and emotional distress. Plaintiffs also argue that they have put forth

sufficient evidence to establish genuine issues of fact as to whether TVA’s discretionary

conduct leading to the ash spill caused ash particles to enter their properties above historical

background levels.

       While the Court has noted TVA’s assertion that the causation principles premised

upon claims of personal injury and emotional distress due to exposure to toxic constituents

are applicable regardless of whether the alleged tort is an injury to person or to property

[Doc. 222, pp. 14, 21-22; Doc. 338, p. 3], TVA has cited no case under Tennessee law in

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support of this proposition. Accordingly, after due consideration of the cases under

Tennessee law considering claims of personal injury, emotional distress, trespass, and

nuisance, the Court finds, as discussed below, that these claims involve related but distinct

inquiries into causation and that each type of claim should be considered separately.

       C.      Plaintiffs’ Personal Injury and Emotional Distress Claims8

        Under Tennessee law, in order to establish proximate cause for claims of intentional

or negligent infliction of emotional distress or bodily injury due to environmental exposure

to toxic chemicals or to diseases such as AIDS, “evidence of a medically recognized channel

of transmission” is required. Bain v. Wells, 936 S.W.2d 618, 624-25 (Tenn. 1997) (“[I]t is

well-established that to recover on a claim of negligence, a plaintiff must show some

reasonable connection between the act of omission of a defendant and the injury which the

plaintiff has suffered.”). A plaintiff alleging a fear of injury or injuries resulting from toxic

chemicals or AIDS must also show “actual—not potential—exposure.” Id.; Sterling, 855


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        At a status conference held on July 19, 2011, the Court inquired of counsel for the parties
which plaintiffs were asserting personal injury and emotional distress claims. Counsel for plaintiffs
in two of the cases set for trial in September 2011 and one of the cases set for trial in November
2011 confirmed that plaintiffs in the cases set for trial in September 2011 were no longer pursuing
claims for personal injury and emotional distress. Counsel for plaintiffs in the cases set for trial in
November 2011 confirmed that nine of the plaintiffs in six cases continued to pursue claims for
personal injury and emotional distress, but the plaintiffs in the other cases either had never asserted
such claims or were no longer pursuing such claims.

        At the time of briefing, plaintiffs in several of the cases set for trial in September 2011 were
pursuing personal injury and emotional distress claims and provided argument and evidence in
support of those claims. Because plaintiffs who continue to assert personal injury and emotional
distress claims have expressly adopted and incorporated the briefs and arguments filed by other
plaintiffs, the Court has considered all of the submitted briefs and evidence regarding plaintiffs’
personal injury and emotional distress claims.

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F.2d at 1999 (affirming the trial court’s finding that the plaintiffs’ “presently ascertainable

and reasonably anticipated future injuries were proximately caused by ingesting or otherwise

using contaminated water”). In once such case, Sterling v. Velsicol Chem. Corp., in which

the U.S. Court of Appeals for the Sixth Circuit applied Tennessee law to tort claims for

injuries due to exposure to contaminated water, the Sixth Circuit emphasized that it is:

              [T]he responsibility of each individual plaintiff to show that his or her
              specific injuries or damages were proximately caused by ingestion or
              otherwise using the contaminated water. We cannot emphasize this
              point strongly enough because generalized proofs will not suffice to
              prove individual damages.

855 F.2d at 1200. See also Bain, 936 S.W.2d at 624-26 (finding that the plaintiff had failed

to show proximate cause because he had not provided proof of actual exposure to AIDS and

had not shown a medically valid channel of transmission).

       Similarly, in Robinson v. Union Carbide Corp., the plaintiff alleged that the illnesses

of his parents and the death of his father were a result of mercury intoxication brought about

by the conduct of the defendant, a nuclear weapons plant. 805 F. Supp. 514, 515 (E.D. Tenn.

1991). The plaintiff alleged that the defendant caused the discharge of large quantities of

mercury into nearby waterways surrounding his parents’ home. Id. He asserted that the

mercury got into the water where his parents fished, that it contaminated the fish they caught

and ate, and that, by eating the contaminated fish, his parents ingested unsafe amounts of

mercury which resulted in mercury intoxication. Id. The defendant moved for summary

judgment, arguing that the plaintiff had failed to present sufficient evidence that his parents’

illnesses and the death of his father was caused by mercury intoxication for which the

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defendant was responsible. Id. The district court agreed, finding that the evidence fell short

of the evidence necessary for a showing of chronic ingestion of contaminated fish resulting

in mercury intoxication. Id. at 524.

              It is apparent that proof of causation in fact in this case requires at a
              minimum evidence that mercury from [the defendant’s facilities] found
              its way, in dangerous levels, into fish in the areas where [the plaintiff’s
              parents] fished, either because fish already contaminated migrated into
              these areas, or because the mercury itself came into the waterways and
              entered into the food chain including the fish caught and eaten by [the
              parents].

Id. at 524.

        TVA does not dispute that metals and chemicals bound up in coal or fly ash could be

toxic to humans depending on the level of exposure. Referencing the causation analyses in

Bain, Sterling, and Robinson, TVA asserts, however, that mere exposure to ash particles does

not equate to purported exposure and ingestion of the potentially toxic constituents within

those particles. TVA submits that toxicological and scientific data regarding coal and fly ash

shows that while constituents in ash particles may be toxic at certain levels, because the

constituents are bound within ash particles that are stable under most conditions, plaintiffs’

allegations of mere exposure to ash is insufficient evidence of causation that their exposure

resulted in a particular injury or stress [see Doc. 268-4, pp. 130-53; Doc. 22-3]. TVA also

asserts that no plaintiff claiming personal injury or emotional distress has shown that he or

she was actually exposed to the potentially toxic constituents bound up in the ash through a

valid transmission pathway, such as ingestion, and not merely exposed to the ash itself, and

that plaintiffs have not provided evidence that any plaintiff ingested or otherwise used the

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ash in a manner and to a level that could cause personal injury or emotional distress [Doc.

289, p. 6]. In further support of its position, TVA points to the findings of the Public Health

Assessment (the “PHA”), prepared by the Tennessee Department of Health and issued on

September 7, 2010, which found that “the coal ash at the site of the KIF coal ash release

should not have caused harm to the community’s health” [PHA, Doc. 222-2, pp. 3-141].

Last, TVA points to the negative results of medical screenings for the presence of heavy or

toxic chemicals in individuals from households in the area of the ash spill [Doc. 280-2, pp.

1-31].

         Plaintiffs argue that they have provided evidence of an issue of fact because they have

shown that coal and fly ash contain a variety of potentially toxic constituents [Doc. 266, pp.

9-10; Decl. Nicholas Cheremisinoff, Ph.D (“Cheremisinoff”), Doc. 268-4, ¶ 22; Decl.

Stephen King, Ph.D, M.P.H. (“King”), Doc. 268-5, ¶¶ 12-13].                  They assert that

environmental scientists and toxicologists have concluded that it is likely that constituents

in coal or fly ash would likely cause bodily injuries or other irritants and that health concerns

arising from exposure to ash are reasonable and well-founded [Decl. King, Doc. 268-5, ¶ 14

(“I conclude that if residents living in proximity to the TVA coal ash spill zone could observe

ash on their properties, they likely experienced exposures to coal ash particulates that were

sufficient to cause the development of respiratory symptoms and medical conditions[.]”);

Davis, et al. v. TVA, Case No. 3:09-CV-577 (“Davis”), Aff. Marty G. Wallace, M.D.

(“Wallace”), Doc. 51-3, ¶¶ 7-10]. Plaintiffs have also submitted evidence of a litany of

aliments that may result from exposure to constituents present in coal and fly ash [Decl.

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Cheremisinoff, Doc. 268-4, ¶¶ 21-22; Decl. Barry W. Sulkin (“Sulkin”), Doc. 268-9, ¶¶16-

19; Doc. 266, p. 6-8; Decl. King, Doc. 268-5, ¶ 14]. Plaintiffs point to evidence that

individuals living in the area were told by doctors to immediately leave the area after the

spill, that individuals residing in the area reported a worsening of respiratory and other

symptoms and increased stress and anxiety within weeks of the spill, and the testimony of

individual plaintiffs stating that they were exposed to coal ash in the environment and on

their properties and that after such exposure, they experienced respiratory symptoms and

stress.9 Plaintiffs also assert that the PHA and the negative screening results referenced by

TVA are not the final word on the health risks arising out of the spill, that the investigations

into such risks are ongoing, and that the studies and reports referenced by TVA do not

contemplate the presence of arsenic constituents in the ash and the effect on the public.

       Viewing this evidence in the light most favorable to plaintiffs, the Court concludes

that plaintiffs have not established a genuine issue of fact that their exposure to the coal or

fly ash in the environment equates to an exposure to the potentially toxic constituents bound

up in the ash. Plaintiffs have not put forth evidence of a causation link between exposure to

the ash and a specific personal injury, respiratory symptom, or emotional distress. Although

plaintiffs argue that exposure to the toxic constituents in the ash exists by virtue of the

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         See, e.g., Daugherty, et al. v. TVA, Case No. 3:09-CV-576 (“Daugherty”), Affs. Evelyn &
Glenn Daugherty, Docs. 55-4, 55-5 (“I and members of my family were and have been exposed to
coal ash on the Property . . . as a result of the Ash Spill[.]”); Davis, Aff. Kristine Davis, Doc. 51-4
(“Since the date of the Ash Spill, my physical health has deteriorated. I have experienced a number
of physical symptoms previously unknown to me and have acquired conditions that I believe are
attributable to the Ash Spill, including but not limited to (i) itchy eyes; (ii) runny nose; (iii) skin
rashes; and (iv) exacerbation of anxiety and depression.”).

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presence of ash in the environment, the mere existence of a toxin in the environment is

insufficient to establish causation without proof that the individual was actually exposed to

the toxin and at a level sufficient to cause injury or stress. Similar to the plaintiffs in Sterling

and Robinson, plaintiffs have not shown actual exposure to the potentially toxic constituents

in the ash or brought forth evidence that a plaintiff ingested or used the ash at the requisite

level to have resulted in a personal injury or emotional distress. Moreover, plaintiffs have

not set forth a minimum level of exposure for personal injury or emotional distress, let alone

that a certain plaintiff ingested or used enough of the ash to make a claim viable.

Furthermore, plaintiffs have not provided toxicological evidence or health reports and

screenings that refute the evidence and reports submitted by TVA. Rather, plaintiffs have

only provided evidence that the constituents in coal and fly ash may, at certain levels, cause

injury and stress. Accordingly, given what Tennessee law requires for a showing of

causation for personal injury and emotional distress claims arising out of exposure to toxic

constituents in the environment, plaintiffs’ lack of evidence showing actual exposure to the

potentially toxic constituents (and not just exposure to the ash itself) in a level sufficient to

cause personal injury or emotional distress, and the lack of evidence showing actual ingestion

or use, TVA’s requests for summary judgment as to those plaintiffs asserting personal injury

and emotional distress claims are hereby GRANTED.

       D.      Plaintiffs’ Property-Related Claims of Trespass and Nuisance

       The Court now turns to plaintiffs’ trespass and nuisance claims. Upon the Court’s

repeated scrutiny of the briefs, it does not appear that any party has discussed a case applying

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Tennessee law that clearly articulates a causation analysis for trespass and nuisance claims

premised upon the entry onto property of small or potentially intangible ash particles or

particulate matter (“PM”) from coal or fly ash. TVA argues that an analysis similar to that

which applies to plaintiffs’ personal injury and emotional distress claims applies to plaintiffs’

claims of trespass and nuisance as well. Plaintiffs argue that their trespass and nuisance

claims involve distinct elements and different standards of causation which must be

considered separately. Upon the Court’s review of the cases that have considered trespass

and nuisance claims under Tennessee law, the Court agrees with plaintiffs that claims for

trespass and nuisance involve different inquiries than plaintiffs’ personal injury and

emotional distress claims.

              1.      Plaintiffs’ Trespass Claims

       TVA argues that Tennessee follow the “modern view” of trespass which recognizes

that the imposition of liability premised upon a trespass onto property of ubiquitous particles

is limited to cases were actual and substantial harm is alleged and shown. Plaintiffs disagree,

arguing that under Tennessee law, a trespass is defined as the unauthorized entry upon the

real property of another and has no requirement that a certain amount of level of harm be

shown. Plaintiffs assert that a trespass claim may be premised upon the entry onto property

of intangible particles such as dust, gas, or odors, regardless of the degree of force used or

the resulting level or amount of damage.

       In describing a trespass claim under Tennessee law, both parties refer to Stephens v.

Koch Foods, LLC, and that court’s adoption of “the ‘modern’ view of trespass.” 667 F.

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Supp. 2d 768, 795-96 (E.D. Tenn. 2009). In Stephens, the plaintiffs alleged federal and state

law claims against the defendant, including a claim for trespass. Id. at 771. The plaintiffs

alleged that sewer lines installed and operated by the defendant out of a poultry deboning

plant emitted odorous gases and mists which entered the plaintiffs’ properties without their

permission. Id. at 794. One plaintiff also alleged that wastewater had entered her home

through her sewer pipes. Id. The defendant, citing a single case from the Tennessee court

of appeals, moved for summary judgment on the plaintiffs’ claims for trespass premised upon

the entry onto their properties of intangible gas and mist particles. Id. at 795. Summary

judgment was proper, the defendant argued, because Tennessee law of trespass requires a

direct entry onto land by a tangible object. Id. The plaintiffs disagreed, arguing that

Tennessee follows the modern trend in trespass law, which, they asserted, allows “an action

based on intangible entries.” Id.

       After citing several cases interpreting the law of trespass from other states, the

Stephens court distinguished the Tennessee case cited by the defendant and declined to

follow the defendant’s position that Tennessee trespass law did not permit a claim for

trespass premised on the entry of intangible particles. Id. at 795-96. The Stephens court then

held that it would follow the “modern” view of trespass, the position advanced by the

plaintiffs. Id. The Stephens court did not, however, articulate the requirements for causation

in the context of a trespass claim, nor did it mention limiting the imposition of liability for

a trespass claim premised upon intangible particles to situations where actual and substantial

harm is shown. The Stephens court ultimately concluded that an issue of fact existed and

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denied the defendant’s request for summary judgment on the plaintiffs’ trespass claims. Id.

at 796.

          Upon review of the cases cited in Stephens as exemplars of the “modern” trend of

trespass law, id. at 795 (citing cases), the Court finds that a common element in each of those

cases is that a trespass claim may be premised upon the entry onto property of intangible

particles. While several of the cases state the requirement that the harm alleged for a trespass

must be alleged and shown to be “actual and substantial,” several of the cases do not contain

this requirement. See Mercer v. Rockwell Intern. Corp., 24 F. Supp. 2d 735, 743 (W.D. Ky.

1998) (holding that under Kentucky law, an essential element of a trespass claim was that

PCB’s interfered with the plaintiffs’ right to exclusive possession by causing “actual harm”

to the property); Williams v. Oeder, 659 N.E.2d 379 (Ohio App. 1995) (approving the trial

court’s finding that for a trespass claim under Ohio law, substantial damage to the property

is a required element when the trespass claim is for entry to property by airborne pollutants).

But see Stevenson v. E.I. DuPont De Nemours & Co., 327 F.3d 400, 405-06 (5th Cir. 2003)

(finding no Texas case clearly adopting the substantial damage requirement beyond situations

where state law had already set a minimum level of damage and holding that because “the

only showing necessary is entry over land by some ‘thing,’ Texas law would permit recovery

for airborne particles”); Ream v. Keen, 828 P.2d 1038, 1040 (Or. App. 1992) (holding that

actual damage is not necessary for a defendant to be liable for intentional trespass of smoke

over the plaintiff’s property); Martin v. Reynolds Metals Co., 342 P.2d 790, 794 (Or. 1959)

(stating that “we may define trespass as any intrusion which invades the possessor’s

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protected interest in exclusive possession, whether that intrusion is by visible or invisible

pieces of matter or by energy which can be measured only by the mathematical language of

the physicist”). Other cases considering a claim for trespass under Tennessee law support

plaintiffs’ position that there is no requirement that actual and substantial harm be shown.

See, e.g. Burlison v. United States, No. 2:07-cv-02151-JPM-cgc, 2011 WL 1002808, at *8

(W. D. Tenn. Mar. 15, 2011) (“Under Tennessee law, “[e]very unauthorized entry upon

another’s realty is a trespass, regardless of the degree of force used or the amount of

damage.”) (quoting Baker v. Moreland, No. 89-62-II, 1989 WL 89758, at *4-*5 (Tenn. Ct.

App. Aug. 9, 1989) (noting that “[e]very unauthorized entry upon another’s realty is a

trespass, regardless of the degree of force used or the amount of damage.”)). Tennessee

courts considering trespass claims have also noted that in addition to the potential for the

recovery of compensatory and consequential damages, nominal damages are always

available. See Burlison, 2011 WL 1002808, at *8; Jackson v. Bownas, No. E2004-01893-

COA-R3-CV, 2005 WL 1457752, at *8 (Tenn. Ct. App. June 21, 2005); Baker, 1989 WL

89758, at *4-*5 (“Even if no damage is done or the injury is slight, the trespass gives rise to

a cause of action for nominal damages at least.”); Price v. Osborne, 147 S.W.2d 412, 413

(Tenn. Ct. App. 1940).

       Given the above, the Court agrees with plaintiffs that a trespass claim under

Tennessee law may be premised upon the entry onto property of intangible particles and that

there is no requirement of actual and substantial harm. This does not, however, obviate the

requirement that plaintiffs must show causation, that particles from the ash spill, either

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tangible or intangible, entered plaintiffs’ properties and would not have done so “but for”

actionable conduct by TVA.

        TVA argues that plaintiffs have not put forward evidence that particles from the ash

spill were transmitted to plaintiffs’ properties as a result of actionable conduct by TVA and

that these particles entered or remain on their properties. Referencing data from reports on

the KIF plant’s release of particles and chemical compounds into ambient air, and data from

air monitors showing the average amounts of airborne PM within the area of the spill from

years preceding and following the ash spill, TVA asserts that the average amount of particles

and chemical compounds in the air since the spill was lower than in the years preceding it

and national air quality standards for emissions of PM were met the year following the spill.

TVA also assert that, according to the PHA, there is no known public health threat from the

airborne PM that might have been released as a result of the spill. TVA also argues that

plaintiffs have not shown that water containing ash particles came onto their properties or got

into their drinking water. TVA points to the finding in the PHA that water monitoring data

shows very little leaching of metals and metalloids from ash particles in the Reservoir or

surrounding waterways. Finally, pointing to evidence including pictures and satellite maps,

TVA argues that the initial flow of coal ash sludge never came onto plaintiffs’ properties and

never deposited ash particles onto their properties [see Doc. 222-1, p. 10-30; Decl. Cassandra

L. Wylie (“Wylie”), Doc. 222-1, pp. 63-80; Doc. 222-3, pp. 130-40; Doc. 222, pp. 6, 11-15-

135].



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       Plaintiffs argue that TVA’s data on the decreased presence of chemical compounds

in the air and of airborne PM within the area of the spill is explained by other variables,

including evidence that the KIF plant and another nearby plant ran at reduced capacities the

year after the spill, burning less coal and releasing fewer emissions [Decl. Cheremisinoff,

Doc. 268-4, ¶¶ 12-15]. Plaintiffs assert that with these plants running at reduced capacities,

the lower concentrations noted by TVA would have been lower but for the emissions

released as a result of the ash spill [Id.]. An expert retained by plaintiffs has stated that

following the ash spill, PM was collected at various monitoring sites and that this data and

other data provided by the Environmental Protection Association (the “EPA”) show that

following the spill, areas around the KIF plant and the site of the spill had elevated PM levels

[Id., ¶¶ 15-22]. Plaintiffs also submit that the evidence gathered by their experts shows that

these particles came from fugitive releases at ground level which implies that the particles

came from the ash spill and not taller emission stacks which would emit particles at a greater

height. Plaintiffs also point to several affidavits given by plaintiffs which state that on the

day of the spill and several days after it, they observed wind-blown ash on their properties

and that ash particles were visible in the air over their properties so that it appeared to be

“snowing ash” [Doc. 266, p. 6]. Referencing depositions given by individual plaintiffs and

photographs taken of plaintiffs’ properties and the area and bodies of water involved in and

surrounding the ash spill, plaintiffs also assert that following the spill, they observed coal and

fly ash on their properties and inside their homes [Doc. 268-8; Doc. 269-10; Doc. 268-11].

Plaintiffs have also provided photographs purporting to show the presence of ash on

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plaintiffs’ properties and in the waters surrounding their properties [Id.; Doc. 268-3].

Plaintiffs also assert that air sampling conducted by plaintiffs’ experts found coal ash in the

air over several plaintiffs’ properties and that soil sampling from several of plaintiffs’

properties have tested positive for the presence of ash [Doc. 247; Doc. 250].

       Plaintiffs also contend that an issue of fact exists as to whether ash particles and the

constituents in those particles were transported to their properties via the waters of the

Reservoir and surrounding waterways. Contrary to TVA’s assertion that coal ash sludge

never came onto plaintiffs’ properties, plaintiffs assert that a coal ash “tidal wave” reached

higher than the top elevation of the Reservoir, coming over the shoreline strip and onto their

properties the morning of the ash spill [Decl. Sulkin, Doc. 268-9, ¶¶ 3-4]. Plaintiffs argue

that there were at least five high flow events in the waterways surrounding their properties

that re-suspended the ash in the Reservoir and deposited it on their properties, above the top

elevation of TVA’s shoreline strip [Decl. Sulkin, Doc. 268-9, ¶¶ 8-14]. Finally, plaintiffs

point to soil samples taken by the Tennessee Department of Environment and Conservation

and the EPA, along with the analyses of plaintiffs’ expert environmental consultants, and

assert that constituents within ash, specifically, arsenic, has been found on plaintiffs’

properties beyond the boundaries of the initial deposits of coal ash sludge [Decl. Mark

Quarles, P.G. (“Quarles”), Doc. 268-9, ¶¶ 33-38; Decl. Sulkin, Doc. 268-9, ¶¶ 5, 13, 14;

Turner, Aff. J. Fred Heitman (“Heitman”), Doc. 63-5, ¶¶ 2-6 (stating that he has taken

samples from privately owned properties, analyzed the samples for heavy metals, and found

elevated levels of the constituents founds in coal and fly ash)].

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       As noted above, the Court’s function at the point of summary judgment is limited to

determining whether sufficient evidence has been presented to make the issue of fact a proper

question for the finder of fact, not to weigh the evidence or determine the truth of the matter.

Upon review of this evidence, and viewing such evidence and the inferences to be drawn

therefrom in a light most favorable to plaintiffs, the Court concludes that plaintiffs have

raised an issue of fact as to whether the coal ash spill caused particles from coal or fly ash

to enter their properties through ash present in ambient air, in water, or in subsequent high

flow water events. Plaintiffs have also set forth an issue of fact as to whether the presence

of these particles was caused by the ash spill rather than TVA’s nondiscretionary conduct or

conduct that occurred prior to the spill. While TVA has put forth evidence that coal or fly

ash is not present in substantial quantities on plaintiffs’ properties, plaintiffs have created an

issue of fact as to whether ash particles entered plaintiffs’ properties following the ash spill

or were deposited onto plaintiffs’ properties through ambient air or high water episodes

following the spill, and an issue of fact regarding whether these particles or their constituents

remain on plaintiffs’ properties. Accordingly, given the law in Tennessee regarding what

may constitute a trespass and the evidence submitted by plaintiffs, the Court cannot

satisfactorily find that a genuine issue of fact does not remain as to whether particles from

the coal ash spill entered plaintiffs’ properties. Thus, TVA’s requests for summary judgment

as to plaintiffs’ trespass claims are hereby DENIED.




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              2.     Plaintiffs’ Nuisance Claims

       Tennessee courts have defined a nuisance as “anything which annoys or disturbs the

free use of one’s property, or which renders its ordinary occupation uncomfortable . . . [and]

extends to everything that endangers life or health, gives offense to the senses, violates the

laws of decency, or obstructs the reasonable and comfortable use of property.” Lane v. W.J.

Curry & Sons, 92 S.W.3d 355, 364 (quoting Pate v. City of Martin, 614 S.W.2d 46, 47

(Tenn. 1981)). Depending on the surroundings, activities that constitute a nuisance in one

context may not constitute a nuisance in another. Id. Thus, whether a particular activity or

use of property amounts to an unreasonable invasion of another’s legally protectable property

interests depends on the circumstances of each case, the character of the surroundings, the

nature, utility, and social value of the use, and the nature and extent of the harm involved.

Id. at 364-65; see Pate, 614 S.W.2d at 47. The standard by which a nuisance is measured is

that of a normal or ordinary person in the community. Jenkins v. CSX Transp., Inc., 906

S.W.2d 460, 462 (Tenn. Ct. App. 1995). One Tennessee court has described the standard for

the harm claimed by a plaintiff and resulting from a nuisance to be:

              [T]he standard of normal persons or property in the particular locality.
              If normal persons living in the community would regard the invasion
              in question as definitely offensive, seriously annoying or intolerable,
              then the invasion is significant. If normal persons in that locality would
              not be substantially annoyed or disturbed by the situation, then the
              invasion is not a significant one, even though the idiosyncrasies of the
              particular plaintiff may make it unendurable to him.

Id. (quoting Restatement (Second) of Torts § 821 cmt. d)).



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       The presence of a nuisance under Tennessee law has been found when odors emitted

from a sewage lagoon made habitation of dwellings in the vicinity of the lagoon “almost

impossible.” Pate, 614 S.W.2d 46. Tennessee courts have also found that the accumulation

of trash and debris on a piece of property constituted a nuisance when the “conglomeration

of materials . . . constitutes a fertile breeding ground for undesirable vermin[,]” Aldridge v.

Morgan, 912 S.W.2d 151 (Tenn. Ct. App. 1995), that noise from a concrete products plant

could constitute a nuisance if it was sufficiently disturbing, intense, and incessant, Caldwell

v. Knox Concrete Prods., Inc., 391 S.W.2d 5 (Tenn. Ct. App. 1965), and that a junk yard

constituted a nuisance when it contributed to an increase in the rat and mosquito population,

was hazardous to children, and depreciated the value of nearby properties. Hagaman v.

Slaughter, 354 S.W.2d 818 (Tenn. Ct. App. 1962). These cases demonstrate that what

defines a nuisance and what constitutes the type of property interests involved in the use and

enjoyment of property requires a specific inquiry into the specific facts and circumstances

of each case.

       TVA argues that plaintiffs cannot recover for their nuisance claims on the theory that

the presence of coal ash particles in the waters of the Reservoir, the surrounding waterways,

the shoreline strip, and on private property purchased by TVA, makes plaintiffs’ recreational

use of their properties less desirable and diminishes their use and enjoyment of such

properties. TVA argues that plaintiffs have failed to present objective evidence that the ash

spill caused ash concentrations on each plaintiff’s property to increase significantly above

historical background levels and asserts that because Tennessee nuisance law only prohibits

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activities that substantially interfere with a reasonable person’s use and enjoyment of

property, plaintiffs cannot recover because they have not shown that the alleged ash

concentrations in areas surrounding their properties reached levels that would substantially

interfere with a reasonable person’s ordinary health, sensibilities, and modes of living. See

North Carolina v. TVA, 615 F.3d 291, 310 (4th Cir. 2010) (discussing Tennessee nuisance

law as prohibiting activities that “substantially interfere with the average person—for

example, a person of ‘ordinary health and sensibilities, and ordinary modes of living’”)

(emphasis in case) (quoting Jenkins, 906 S.W.2d at 462).

       Plaintiffs argue that they have presented evidence demonstrating that the coal ash spill

created a nuisance in regard to their properties and, as property owners, they have

demonstrated that the ash spill substantially interfered with their use and enjoyment of their

properties. As support for their claims, plaintiffs point to what they allege are noisy and

disruptive clean-up activities, including heavy barges and dredges and bright lights in

normally dark areas. Plaintiffs also point to evidence of the presence of ash in the waters

surrounding their properties, a circumstance they assert has limited their ability to use their

properties to enjoy the water-based recreational activities that used to be easily accessible

from their properties. They also argue that the ash spill and its impact on the Reservoir and

the surrounding waterways has prevented them from building or using their docks, boating,

and swimming, and that the ash in the water and the various public warnings issued as a

result of the spill have interfered with their ability to use their properties in the manner they

contemplated when they initially purchased their properties and which was factored into the

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value of their properties. Plaintiffs also assert that the discharge of ash into the waterways

surrounding their properties caused a layer of scum and residue that has covered the water

at various times and has caused a fish kill and mounds of dead fish in the water and on the

shoreline of the Reservoir. Plaintiffs argue that this scum and dead fish have ruined their

views, caused foul odors, and interfered with their use and enjoyment of their properties.

Plaintiffs also assert that the ash spill and the presence of the ash on their properties and on

areas surrounding their properties has attached a negative stigma to the area which has

severely damaged the values of their properties, their ability to secure financing, and their

ability to sell their properties. Plaintiffs assert that even if ash is not present on some of their

properties, the ash has settled to the bottom of the Reservoir and the waterways near their

properties and has been found floating on the top of the water near their properties. Finally,

plaintiffs assert that measurable levels of ash are present along the riverbeds adjacent to their

properties and they argue that this ash poses an ongoing threat to water quality, their

recreational use of the waterways, and gives rise to a significant likelihood that the ash will

enter the aquatic food chain [Doc. 266, pp. 20-22; Decl. Sulkin, Doc. 268-9, ¶¶ 7, 12-20;

Decl. Quarles, Doc. 268-10, ¶¶ 20-23; Doc. 268-11; Docs. 268-11, -13].

       First, as noted previously in the Court’s discussion of actionable versus non-actionable

conduct, plaintiffs cannot recover for their allegations arising out of TVA’s post-spill

removal and remediation conduct because this conduct falls under the discretionary function

doctrine. See Mays, 699 F. Supp. 2d at 1016-19, 1033. This applies equally to plaintiffs’

nuisance claims as well as their tort claims. See In re TVA Ash Spill Litig., 2011 WL

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1113425, at 18. Second, after a review of nuisance law in Tennessee, the Court disagrees

with TVA that plaintiffs are required to show that ash concentrations are present on each

plaintiff’s property in an amount significantly above historical background levels in order to

defeat TVA’s requests for summary judgment on their nuisance claims. Third, while the

Court agrees with plaintiffs that for a nuisance, they are not required to prove an invasion of

their properties by coal ash specifically, plaintiffs are required to prove that the presence of

coal or fly ash on their properties or on areas surrounding their properties, in the air, or in the

Reservoir and surrounding waterways, constitutes an invasion of legally protectable property

interests that rises to the level of what a reasonable person with ordinary sensibilities would

consider an unreasonable interference with the use and enjoyment of property. Here,

plaintiffs have not pointed the Court to a case where a plaintiff was able to recover for a

nuisance absent a finding of an unreasonable invasion of a property interest such as the

invasion of pollutants through the air over property, the coming of vermin or foul substances

from a dump onto property, or noxious odors or incessant noises smelled or heard on

property. See Pate, 614 S.W.2d at 47 (noting that the plaintiffs’ property was in proximity

to the defendant’s sewage lagoon and finding a nuisance because the odor emanating from

the lagoon had invaded the plaintiffs’ property and made habitation of nearby dwellings

almost impossible); Cissom v. Miller, No. E1999-02767-COA-R3-CV, 2001 WL 456062,

at *1 (Tenn. Ct. App. Apr. 30, 2001) (noting that the plaintiffs’ property was in close

proximity to the defendant’s chicken houses and finding a nuisance because the foul odors

emanating from the chicken houses had invaded their property).

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       Furthermore, the mere proximity of plaintiffs’ properties to the areas impacted by the

coal ash spill or the decrease in the value of their properties due to negative stigma does not,

without a finding that a legally protectable property interest was invaded, result in a finding

of a nuisance. Illustrating this point is Wilson v. Farmers Chem. Ass’n., in which the type

of nuisance and harm alleged is similar to that alleged in this litigation. 444 S.W.2d 185

(Tenn. Ct. App. 1969). In Wilson, the plaintiffs were riparian owners of a partially developed

residential subdivision located near the defendant, a manufacturer of fertilizers and

ingredients for TNT. Id. at 186. The plaintiffs alleged that the defendant had caused a

nuisance by emitting pollution into the atmosphere above the plaintiffs’ property and into the

waters of Wyconda Bay, a body of water adjacent to the plaintiffs’ property. Id. In a finding

affirmed by the court of appeals, the trial court agreed with the plaintiffs that the defendant

had maintained a nuisance by polluting air over the plaintiffs’ property with soot,

particulates, ammonia, oxides and other compounds of nitrogen and other chemicals. Id.

The Wilson court then found that

              These pollutants have seriously impaired the usable value of [the
              plaintiffs’] property. Likewise, the defendant has polluted and
              continues to pollute the waters of Wyconda Bay by discharging through
              a drainage ditch running from its plant to the Bay huge quantities of
              water which contain ammonia, oxides of nitrogen and other poisonous
              chemicals which have caused numerous kills of thousands of fish, the
              decaying of which has fouled the air over [the plaintiffs’] property and
              fouled the waters of the Bay, thereby rendering it unfit for normal
              boating and swimming purposes. This pollution of the waters of the
              Bay has likewise caused substantial injury to the usable value of [the
              plaintiffs’] property. . . . There can be little doubt that, due to [the]
              defendant’s activities, [the plaintiffs] have been seriously handicapped
              in selling lots and as a result of these difficulties and the reluctance of

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               buyers to purchase and develops lots [the plaintiffs] have deferred
               improving a considerable portion of their lands.

Id. at 106-07. After noting that previous Tennessee courts have found that incessant and

disturbing noises may constitute a nuisance, and that smelly and unsightly dumps where rats

and mosquitoes converge and bred may also constitute a nuisance, the Wilson court found

that under the facts of that case, “the offensive odor and sight of decaying fish and the

pollution of the atmosphere with dirty and odorous fallout, resulting in heavy damage to

property, cannot with reason be said to be less than a nuisance.” Id. at 108.

       The Wilson court found that a decrease in the value of the plaintiffs’ properties and

the impact of the defendant’s conduct on the plaintiffs’ abilities to sell lots in the subdivision

were some of the circumstances that factored into the trial court’s finding of a nuisance.

Important to this litigation, the Wilson court also found that the plaintiffs’ property interest

had been invaded because the plaintiffs’ use and enjoyment of their property had been

substantially impaired by the air pollution over their property and the fouling of the Bay

surrounding their property due to emissions from the defendant’s facilities. 444 S.W.2d at

106-07. Moreover, a measure of the damages the plaintiffs were found to be entitled to were

“damages as riparian owners” of property adjacent to the polluted Bay. Id. at 105.10

       However, given Tennessee law regarding a nuisance, particularly the factors and

circumstances discussed in Wilson, and viewing the collective evidence of record in the light



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         The Court has no evidence before it that a plaintiff in this litigation is a riparian owner of
property along the Reservoir.

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most favorable to plaintiffs, including evidence that ash particles came onto plaintiffs’

properties, that ash particles entered and remain in the Reservoir and on the shoreline strip

surrounding plaintiffs’ properties and that the presence of this ash has interfered with their

use and enjoyment of their properties in that plaintiffs can longer use their properties as

staging areas for recreational boating and swimming, that the ash has caused unsightly and

smelly scum on waters next to their properties, has caused fish to die and decay within sight

of their properties, and has caused their properties to have lost some of their usable value, the

Court concludes that plaintiffs have raised a genuine issue of fact in regard to their claims

that the coal ash spill caused a nuisance in regard to their properties.

              3.      Plaintiffs’ Property Damage Claims

       No party has provided the Court with a thorough explanation of the distinction

between proving causation for a trespass claim and proving causation for a pure property

damage claim. In fact, both parties refer to plaintiffs’ claims for trespass and nuisance as

“property-related” claims, focusing the inquiry on causation on plaintiffs’ trespass claims as

opposed to plaintiffs’ pure property damage claims. For instance, in the Chesney plaintiffs’

response to TVA’s supplemental brief, these plaintiffs refer to their property damage claims

as “claims for nuisance and trespass” and do not refer to pure property damage claims [see

Doc. 340], in the Turner plaintiffs’ response to TVA’s motion for summary judgment, these

plaintiffs only explicitly discuss causation in terms of their nuisance and trespass claims [see

Turner, Doc. 63, pp. 6-12], and TVA’s reply brief does not distinguish between trespass

claims and pure property damage claims [see Doc. 289, pp. 20-26]. Thus, upon the Court’s

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review of the briefs in this case, it appears to the Court that the parties’ analyses of the

“property-related” claims in this litigation subsume plaintiffs’ trespass and pure property

damage claims into one. However, a detailed scrutiny of TVA’s motions for summary

judgment and the complaints in this litigation indicate that plaintiffs have not abandoned pure

property damage claims arising out of negligence, negligence per se, recklessness, and strict

liability—claims that are, at least in plaintiffs’ complaints, distinct from plaintiffs’ trespass

claims [See, e.g., Auchard, et al. v. TVA (“Auchard”), Case No. 3:09-CV-54, Doc. 437, ¶¶

246-295].

       Beaty Chevrolet Co. v. Norfolk So. Railway Co., a case discussed by TVA, articulates

the causation analysis for pure property-related claims of damage to chattel, specifically,

alleged damage to the surfaces and trim of the plaintiff’s vehicles as a result of what the

plaintiff alleged were toxic contaminants released into the environment by the derailment of

a train transporting chemicals and owned by the defendant. 2005 WL 1182444, at *1-*2.

In Beaty, the district court’s inquiry into the plaintiff’s claims of property damage to his

vehicles demanded a showing of causation establishing some means by which the toxic

contaminants could have been transported to the property where the plaintiff’s vehicles were

located. Id. at *3-*4. After this showing of a transport mechanism or causation pathway, the

district court then required the plaintiff to show that the toxic constituents was transported

to the plaintiff’s property and onto the vehicles in sufficient concentrations to result in

damage to the vehicles. Id.



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       Given this causation analysis in Beaty for a pure property damage claim to chattel, it

appears to the Court that the causation inquiry for a claim for pure property damage to real

property is more stringent than that required for a trespass claim, most particularly in the

level of damage that must be established. For a pure property damage claim to chattel, a

plaintiff must show that toxic constituents reached the property in sufficient concentrations

to result in actual damage. This is distinguishable from a trespass claim in which “[e]very

unauthorized entry upon another’s realty is a trespass, regardless of the degree of force used

or the amount of damage[,]” Burlison, 2011 WL 1002808, at *8, and in which nominal

damages may be awarded. It does not follow, however, that the causation inquiries of Bain

and Robinson for claims for personal injury and emotional distress apply without

modification to pure property damage claims, particularly given those courts’ requirements

that plaintiffs show actual ingestion or use of the toxic constituent. Accordingly, in light of

the Court’s findings above in regard to plaintiffs’ trespass claims, the issues of fact regarding

whether ash particles entered plaintiffs’ properties following the ash spill or were deposited

onto plaintiffs’ properties through ambient air or high water episodes following the spill,

whether these particles or their constituents remain on plaintiffs’ properties, the lack of

specific argument by the parties distinguishing the causation inquiry and the requisite level

of harm to real property for plaintiffs’ pure property damage claims versus plaintiffs’ trespass

claims, and to the extent plaintiffs continue to pursue pure property damage claims, there

remains issues of fact as to whether plaintiffs have satisfied their burden of proving causation



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in regard to their pure property damage claims. Thus, TVA’s requests for summary judgment

as to plaintiffs’ pure property damage claims are hereby DENIED.

       E.     Plaintiffs’ Inverse Condemnation Claims

       Several plaintiffs in the above-cited cases have also alleged inverse condemnation

claims against TVA, asserting that “plaintiffs hold legal title to property which has been

taken and/or injured by . . . TVA’s discharge of coal ash sludge and contaminated water.”

[see Raymond, Case No. 3:09-CV-48, Doc. 98, ¶ 86]. TVA asserts that these plaintiffs have

failed to come forward with objective evidence sufficient to establish that either the coal ash

spill or TVA’s post-spill response conduct caused concentrations of ash particles on

plaintiffs’ properties to increase significantly above historical background levels and to

potentially toxic concentrations. TVA also asserts that plaintiffs’ allegations that ash

particles remain on lands and/or waters surrounding, adjacent to, or in the vicinity of their

properties does not establish issues of fact for purposes of plaintiffs’ inverse condemnation

claims.

       In response, plaintiffs contend that summary judgment in TVA’s favor on their inverse

condemnation claims is inappropriate because TVA has only addressed the narrowest view

of an inverse condemnation claim and has ignored their claims for economic losses related

to the contamination of their waterfront properties. Plaintiffs also argue that they have

offered objective evidence that ash came onto their properties as a result of TVA’s

nondiscretionary conduct. Finally, citing the Sixth Circuit case of Amen v. Dearborn,

plaintiffs argue that TVA’s conduct amounts to a constructive taking because it contributed

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substantially to and accelerated a decline in the values of their properties. 718 F.2d 789 (6th

Cir. 1983)

       As noted in Ridge Line, Inc. v. United States, “[i]nverse condemnation law is tied to,

and parallels, tort law.” 346 F.3d 1346, 1355 (Fed. Cir. 2003) (quoting 9 Patrick J. Rohan

& Melvin A. Reskin, Nichols on Eminent Domain § 34.03[1] (3d. 1980 & Supp. 2002)).

However, the distinction between a tort and a taking is not well-defined. See Hanson v.

United States, 65 Fed. Cl. 76, 80-81 (Fed. Cl. 2005) (“[T]here is no clear cut distinction

between torts and takings . . . . and [t]he best that can be said is that not all torts are takings,

but that all takings by physical invasion have their origin in tort law”). “Thus, not every

‘invasion’ of private property resulting from government activity amounts to an

appropriation.” Ridge Line, Inc., 346 F.3d 1355.

       The Court has previously addressed the inverse condemnation claims asserted in this

litigation. Mays, 699 F. Supp. 2d at 1025-27. In finding that plaintiffs had stated claims for

inverse condemnation sufficient to survive a motion to dismiss, the Court described an

inverse condemnation claim as follows:

               Inverse condemnation is “a shorthand description of the manner in
               which a landowner recovers just compensation for a taking of his
               property when condemnation proceedings have not been instituted.”
               United States v. Clarke, 445 U.S. 253, 257 (1980). A claim for inverse
               condemnation involves a two-part test that can be characterized as a
               causation prong and an appropriation prong. See, e.g., [Cary v. United
               States, 552 F.3d 1373, 1376 (Fed. Cir. 2009); Ridge Line, 346 F.3d
               1346.] As to the causation prong, a property loss compensable as a
               taking only results when the government intends to invade a protected
               property interest or the asserted invasion is the “direct, natural, or
               probable result of an authorized activity and not the incidental or

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              consequential injury inflicted by the action.” Ridge Line, Inc., 346 F.3d
              at 1355-56 (citation and quotations omitted). As to the appropriation
              prong, “[e]ven where the effects of the government action are
              predictable, to constitute a taking, an invasion must appropriate a
              benefit to the government at the expense of the property owner, or at
              least preempt the owner’s right to enjoy his property for an extended
              period of time, rather than merely inflict an injury that reduces its
              value. Id. at 1356. Under the appropriation prong, the nature and
              magnitude of the government action must be considered. Id. at 1355-
              56.

Id. at 1026. Pursuant to the test described above, a plaintiff must satisfy both the causation

and the appropriation prong in order to demonstrate that his or her claim is properly analyzed

under takings law. Furthermore, in Amen v. Dearborn, a case cited by plaintiffs in support

of their constructive taking argument, the Sixth Circuit observed that “a taking does not occur

merely because governmental action burdens or restricts some particular right or interest in

a parcel of land. Rather, before a taking occurs the government must deny the owner all or

essential use of his property.” Id., 718 F.2d at 795 (emphasis added).

       In reviewing the evidence of the presence of coal or fly ash on plaintiffs’ properties,

amounts of ash which, as noted previously, are not substantial, the Court is not persuaded

that plaintiffs have met their burden of showing a genuine issue of fact that they have been

denied “all or essential use” of their properties. Furthermore, the Court is not persuaded that

the presence of coal or fly ash on land or in water in the vicinity of, surrounding, or adjacent

to plaintiffs’ properties creates factual questions for purposes of plaintiffs’ inverse

condemnation claims. Plaintiffs’ claims, that toxic constituents were deposited and remain

on their properties resulting in takings of their properties for purposes of the Fifth


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Amendment, require a greater showing of deprivation of use than plaintiffs’ trespass or

nuisance claims. Moreover, even if land or water adjacent to, surrounding, or in the vicinity

of plaintiffs’ properties was taken by TVA for purposes of the Fifth Amendment, this alone

does not constitute a taking of plaintiffs’ properties. As stated in Campbell v. United States,

a case which involved the government’s taking of property in the vicinity of the plaintiff’s

property in order to erect an explosives plant, the U.S. Supreme Court observed that “[t]he

proposed use of the lands taken from others did not constitute a taking of [the plaintiff’s]

property. [The plaintiff] had no right to prevent the taking and use of the lands of others; and

the exertion by the United States of the power of eminent domain did not deprive [the

plaintiff] of any right in respect of such lands.” 266 U.S. 368, 371 (1924) (internal citations

omitted).

       In Woodland Market Realty Co. v. Cleveland, the Sixth Circuit reiterated the

proposition expressed in Campbell in the context of an urban setting. 426 F.2d 955, 958 (6th

Cir. 1970. In Woodland, a case involving an urban redevelopment project by the city of

Cleveland, the plaintiff, a company which leased a tenant-occupied market building, alleged

that the value of its leasehold interest in the commercial property had been destroyed by the

city’s activities in carrying out its renewal project. Id. at 956-57. These activities included

acquiring property near the commercial property leased by the plaintiff and removing all

structures and inhabitants from the acquired property. Id. at 957. The court rejected the

plaintiff’s claim for inverse condemnation, noting that the “losses occasioned to the plaintiff

were not the result of any intrusion or encroachment” by the city, even though the city’s

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renewal project may have resulted in a decrease in the value of the land. Id. at 957-58. The

city’s actions, the court concluded, “resulted in no diminution of the plaintiff’s rights in its

property.” Id. at 958.

       Similarly, in this litigation, if TVA’s conduct resulted in a taking of property in the

vicinity of, surrounding, or adjacent to plaintiffs’ properties, such conduct is not a taking

unless it also resulted in a diminution of plaintiffs’ property rights that rises to the level of

a taking. This is particularly true when, as here, plaintiffs are not riparian owners with

riparian rights [see Doc. 222, pp. 20-21]. Plaintiffs have provided the Court with no

documentation regarding any ownership of riparian rights and no legal authority indicating

that, by virtue of owning property located adjacent to water over which they have no riparian

rights, they nevertheless hold private property interests in that water.

       Even if plaintiffs were riparian owners, they have provided no legal authority

supporting their assertions that a taking of their rights to go boating, fishing, swimming, or

other recreational activities on adjacent water over which they have no private property

interest constitutes a taking of a private property interest compensable as a taking under the

Fifth Amendment.

              [A]warding compensation to plaintiffs for the alleged taking of a
              “property right” that is held in common with the general public would
              be inconsistent with the compensatory purposes of the Takings Clause.
              The Supreme Court has further observed that the “Fifth Amendment’s
              guarantee that private property shall not be taken for a public use
              without just compensation was designed to bar Government from
              forcing some people alone to bear public burdens which, in all fairness
              and justice, should be borne by the public as a whole.”


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Mildenberger v. United States, 91 Fed. Cl. 217, 246-247 (Fed. Cl. 2010) (quoting Armstrong

v. United States, 364 U.S. 40, 49 (1960)) (holding that the plaintiffs could not seek

compensation for the alleged taking of their asserted rights to “fish, swim, bathe, view

wildlife, or operate a boat”). Moreover, the alleged taking of a right to pollution-free water

in a navigable waterway is not a special injury sustained by plaintiffs but an injury sustained

by the general public. Mildenberger, 91 Fed. Cl. at 246-47. Accordingly, the Court finds

untenable plaintiffs’ assertions that the presence of coal ash in the water in the vicinity of,

adjacent to, and surrounding their properties constitutes a taking.

       Plaintiffs have also asserted that TVA’s conduct amounts to a constructive taking

because TVA’s actions have substantially contributed to and accelerated the decline of

property values in the area affected by the coal ash spill [Doc. 266, p. 30 (quoting Amen, 718

F.2d at 796)]. Plaintiffs argue that evidence of the presence of coal ash on their properties

is not required to sustain their claims for inverse condemnation when TVA’s actions have

substantially contributed to and accelerated the decline in value of their properties. Amen,

718 F.2d 789. The Court, however, does not find the facts of Amen, or the facts of the cases

cited therein, to be applicable to this litigation.

       In Amen, the court found that the city of Dearborn used its governmental powers to

issue building, repair, and occupancy permits to deny and unreasonably delay permits to

residents in a certain area of the city, thereby encouraging residents to relocate out of the

area. 718 F.2d at 797. The court also found that the city used its governmental powers to

require excessive remodeling from the plaintiffs, demanded maintenance and installations

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that were not required by the applicable building codes, and allowed certain properties to

remain vacant and unprotected in order to encourage residents living in the vicinity to sell

their properties to the city. Id. In light of this conduct and the city’s use of its governmental

power, the Amen court concluded that the city’s actions amounted to an unconstitutional

course of conduct which effectively forced residents to sell to the city and a “deliberate

course of conduct [that] caused such substantial damage to plaintiffs’ properties that the

properties in effect were actually taken . . . .” Id. at 797-98.11

       The facts and circumstances of this litigation and TVA’s alleged conduct is not similar

to what occurred in Amen and the conduct of the city of Dearborn. The Amen court noted

that the city’s conduct in that case—denying building permits, denying property

reassessments, continuous publication of redevelopment plans, and denying city

services—“demonstrate[s] clearly that activities other than actual condemnation and physical

intrusion” can constitute a taking. Id. at 797. Plaintiffs in this litigation have not alleged that

TVA engaged in conduct similar to that engaged in by the city of Dearborn. Rather,

plaintiffs’ claims for inverse condemnation are based on alleged physical invasions of ash

particles that allegedly contaminated their properties with toxic metals and chemicals. There

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          Plaintiffs have also noted the Amen court’s citation to Foster v. City of Detroit, 254 F.
Supp. 655 (E.D. Mich. 1966), aff’d, 405 F.2d 138 (6th Cir. 1968), in which the Amen court found
the conduct of the city of Dearborn “not dissimilar” to the conduct of the city of Detroit in Foster.
Amen, 718 F.2d at 796-97. In Foster, like in Amen, the court found that the city’s actions in bringing
about condemnation proceedings over areas of the city–including plaintiffs’ properties–had
substantially contributed to and accelerated the decline of property values in the affected areas and
thus, the actions of the city constituted an unconstitutional taking of the properties before the actual
condemnation of the properties occurred. Foster, 254 F. Supp. 655. After reviewing these cases,
the Court finds neither Amen nor Foster to be similar to the facts in this litigation.

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are no allegations that TVA engaged in a deliberate course of conduct with the object of

reducing the value of plaintiffs’ properties by using its governmental powers to issue

selective permits, implement development plans, or levy tax assessments directed towards

plaintiffs, as found in Amen. In short, the Court does not find the facts of this litigation and

the alleged conduct by TVA similar to the facts and conduct which the court in Amen found

indicative of a taking.

       Finally, plaintiffs’ assertions that the coal ash has devalued their properties do not,

without more, constitute a taking.       “[A] taking does not occur merely because the

governmental action burdens or restricts some particular right or interest in a parcel of land;

rather, before a taking occurs, the government must deny the owner all or an essential use of

his property. The mere decline in property values does not constitute, per se, a taking

requiring just compensation.” Cook v. Cleveland State Univ., 13 F. App’x 320, 321-22 (6th

Cir. 2001) (citing Amen, 718 F.2d at 794).

       In sum, TVA’s requests for summary judgment as to plaintiffs’ inverse condemnation

claims are GRANTED.

IV.    Conclusion

       For the reasons set forth above, TVA’s Motions for Summary Judgment on Plaintiffs’

Tort and Inverse Condemnation Claims on Grounds of No Causation [Doc. 221] are

GRANTED in part and DENIED in part. The motions are GRANTED to the extent that

summary judgment is entered in TVA’s favor as to plaintiffs’ personal injury, emotional

distress, and inverse condemnation claims. The motions are DENIED to the extent that the

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Court finds summary judgment in TVA’s favor to be inappropriate for plaintiffs’ property-

related claims of pure property damage, trespass, and nuisance.

      IT IS SO ORDERED.



                                         s/ Thomas A. Varlan
                                         UNITED STATES DISTRICT JUDGE




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